     Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 1 of 18




                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


DECKERS OUTDOOR                        ) CASE NO.: 1:23-cv-10233-ADB
CORPORATION, a Delaware                )
Corporation,                           ) PLAINTIFF’S NOTICE OF MOTION
                                       ) AND MOTION TO STRIKE
                  Plaintiff,           ) DEFENDANT’S AFFIRMATIVE
                                       ) DEFENSES AND DISMISS
            v.                         ) COUNTERCLAIMS
                                       )
PRIMARK US CORP., a Delaware           )
Corporation; and DOES 1-10, inclusive, )
                                       )
                                       )
                    Defendant.         )
                                       )
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      TO DEFENDANT AND ITS ATTORNEYS OF RECORD: NOTICE IS

HEREBY GIVEN that on a date and time that the Court so Orders, Plaintiff Deckers

Outdoor Corporation (“Deckers” or “Plaintiff” will and hereby does move the Court

for an order pursuant to Rules 12(f) and 12(c) of the Federal Rules of Civil Procedure

striking affirmative defenses from the Answer filed by Defendant Primark US Corp.

(“Primark” or “Defendant”), and dismissing Defendant’s Counterclaims.




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 NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                       AND DISMISS COUNTERCLAIMS
     Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 2 of 18



      Plaintiff’s Motion is based on this Notice of Motion and Motion, the

accompanying Memorandum of Points and Authorities and any further material and

argument presented to the Court at the time of the hearing.

 Dated:       April 28, 2023         By:   /s/ Jamie Fountain
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                                           2

 NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                       AND DISMISS COUNTERCLAIMS
       Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 3 of 18




                                          TABLE OF CONTENTS


I.      INTRODUCTION ................................................................................... 4

II.     STATEMENT OF FACTS...................................................................... 5
III.    DEFENDANT’S AFFIRMATIVE DEFENSES ONE THROUGH
        TEN SHOULD BE STRICKEN ............................................................. 6

        A.       Legal Standard............................................................................... 6

        B.       Defendant’s First, Second, Third, Fourth, Fifth, Seventh
                 and Eighth Affirmative Defenses fail as a matter of law ........... 7

                 i.       Defendant’s First and Second Affirmative Defenses
                          should be stricken because they are unrecognized
                          affirmative defenses ............................................................ 7
                 ii.      Defendant’s Third, Fourth, Fifth, Seventh, and
                          Eighth should be stricken because they are
                          immaterial and/or redundant ............................................ 9

        C.       All of Defendant’s Affirmative Defenses fail the fair notice
                 standard .......................................................................................... 10
IV.     DEFENDANT’S COUNTERCLAIMS ONE THROUGH FOUR
        SHOULD BE DISMISSED, OR IN THE ALTERNATIVE
        STRICKEN............................................................................................... 13
V.      CONCLUSION ........................................................................................ 14




                                                              1

     NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                           AND DISMISS COUNTERCLAIMS
       Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 4 of 18



                                          TABLE OF AUTHORITIES

                                                            CASES
ADP Commercial Leasing, Inc. v. M.G. Santos, Inc.,
  No. CV F 13-0587 LJO, 2013 WL 5424955 (E.D. Cal. Sept. 27, 2013) .......... 13
Advanced Cardiovascular Sys. v. Medtronic, Inc.,
  1996 U.S. Dist. LEXIS 11700 **9-10 (N.D. Cal. July 24, 2006) ..................... 14
Ashcroft v. Iqbal,
   556 U.S. 662, 679, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009)......................... 15
Barnes v. AT&T Pension Ben. Plan-Nonbargained Program,
  718 F. Supp. 2d 1167 (N.D. Cal. 2010) ........................................................... 8, 9
Bell Atl. Corp. v. Twombly,
   550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)......................... 15
Book v. Moulton,
  No. 3:05-cv-0875, 2005 U.S. Dist. LEXIS 33578 (N.D.N.Y. Dec. 6,
  2005) .................................................................................................................... 8
Employers Ins. Co. of Wausau v. Crouse-Community Ctr., Inc.,
  489 F. Supp. 2d 176 (N.D.N.Y. Apr. 25, 2007) .................................................. 8
Flav-O-Rich, Inc. v. Rawson Food Serv., Inc.,
   846 F.2d 1343 (11th Cir. 1988) ........................................................................... 9
Hewitt v. Bank of Am. NA,
  No. 1:13-CV-310, 2013 WL 3490668 (W.D. Mich. July 11, 2013) ................. 13
Levitt v. Bear, Stearns & Co. Inc.,
   No. 99-CV-2789 (ADS) (MLO), 2009 WL 10710738 (E.D.N.Y. Feb.
   2, 2009) .............................................................................................................. 15
Moldex-Metric, Inc. v. McKeon Prods.,
  891 F.3d 878 (9th Cir. 2018) ............................................................................. 11
Network Caching Tech., LLC v. Novell, Inc.,
   No. C-01-2079-VRW, 2001 WL 36043487 (N.D. Cal. Dec. 31, 2001)............ 14
PetEdge, Inc. v. Fortress Secure Solutions, LLC,
   2016 U.S. Dist. LEXIS 12201, *5-6, 2016 WL 407065 (D. Mass. Feb.
   2, 2016) .............................................................................................................. 16
Saks v. Franklin Covey Co.,
   316 F.3d 337 (2d Cir. 2003)............................................................................... 12
Selevan v. New York Thruway Auth.,
   584 F.3d 82 (2d Cir. 2009)................................................................................. 15


                                                                 2

  NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                        AND DISMISS COUNTERCLAIMS
       Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 5 of 18



Smith v. BarnesandNoble.com, LLC,
  2014 U.S. Dist. LEXIS 35623 at *3 (S.D.N.Y. March 18, 2014) ..................... 15
Traffix Devices v. Mktg. Displays,
   532 U.S. 23 (2001); ............................................................................................ 11
Tronox Inc. v. Kerr McGee Corp. (In re Tronox Inc.),
   503 B.R. 239 (Bankr. S.D.N.Y. 2013) ............................................................... 12
TSX Toys, Inc. v. 665, Inc.,
  2015 U.S. Dist. LEXIS 192520, 2015 WL 12746211 (C.D. Cal. Sept.
  23, 2015) ............................................................................................................ 10
U.S. S.E.C. v. Nothern,
   400 F. Supp. 2d 362 (D. Mass. 2005) ................................................................ 13
United States v. Continental Ill. Natl Bank & Trust Co. of Chicago,
  889 F.2d 1248 (2d Cir. 1989) .............................................................................. 9
Zivkovic v. So. Cal. Edison Co.,
   302 F.3d 1080 (9thCir. 2002) ........................................................................ 9, 10
                                             OTHER AUTHORITIES
5C WRIGHT &MILLER, FED. PRAC. &PROC. § 1392 (3d ed. 2012) ............... 12




                                                               3

  NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                        AND DISMISS COUNTERCLAIMS
        Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 6 of 18



   I.       INTRODUCTION

   Plaintiff Deckers Outdoor Corporation (“Plaintiff” or “Deckers”) respectfully

requests the Court strike Defendant Primark US Corp.’s (“Defendant” or “Primark”)

affirmative defenses from their Answer because they fail as matter of law and/or do

not meet the “fair notice” standard for affirmative defenses. Likewise, because they

also fail as a matter of law, Deckers seeks dismissal of Defendant’s Counterclaims one

through four.

         On January 30, 2023, Deckers filed this lawsuit against Defendant for trade

dress infringement, patent infringement, and related Massachusetts common and state

law claims arising from Defendant’s sale of certain footwear which infringe on

Deckers’ Classic Ultra Mini Trade Dress and U.S. Pat. No. D927,161 (“the ’161

Patent”).




         Primarily, several of Defendant’s affirmative defenses and counterclaims fail as

a matter of law because they are not actually affirmative defenses or counterclaims, but

rather challenges to Deckers’ case-in-chief. For instance, Defendant’s First

Affirmative Defense merely alleges the Complaint “fails to allege facts sufficient to



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 NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                       AND DISMISS COUNTERCLAIMS
     Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 7 of 18



support a claim upon which relief may be granted.” Similarly, Affirmative Defense

Nos. 2-5, 7, and 8 only challenge an aspect of Deckers’ case-in-chief.

         Moreover, Defendant’s Affirmative Defenses also fail to meet the “fair notice”

standard for affirmative defenses. Defendant’s ten affirmative defenses are all alleged

without any supporting factual allegations. By failing to plead any facts to support its

affirmative defenses, Defendant has not met the “fair notice” standard for evaluating

affirmative defenses on a Rule 12(f) motion.

         Defendant’s first, second, third, and fourth Counterclaims are requests for

declaratory judgment finding in the inverse of Plaintiffs’ claims; for example,

Defendant’s first counterclaim – “Judicial Declaration of Non-Infringement […]” is

clearly identical to Plaintiffs’ claims of Trade Dress Infringement.

         For these reasons, and as discussed further below, the Court should strike

Defendant’s affirmative defenses one through ten and dismiss Defendant’s

counterclaims one through five. Doing so will simplify this case and serve the

interests of justice by allowing the parties to focus on the main issue in this case—

whether Defendant’s Accused Product infringes on Deckers’ Classic Ultra Mini Trade

Dress and the ’161 Patent.

   II.      STATEMENT OF FACTS

         On January 30, 2023, Plaintiff filed this instant action against Defendant

asserting causes of action for trade dress infringement, patent infringement, and unfair

competition. ECF 1. On April 7, 2023, Defendant filed its Answer and Counterclaims
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 NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                       AND DISMISS COUNTERCLAIMS
       Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 8 of 18



asserting ten affirmative defenses, and five counterclaims for declaratory relief.1 ECF

15. Plaintiff now moves the Court to strike each of Defendant’s affirmative defenses

one through ten and dismiss and/or strike Defendant’s counterclaims one through four.

     III.   DEFENDANT’S AFFIRMATIVE DEFENSES ONE THROUGH TEN

            SHOULD BE STRICKEN

            A. Legal Standard

        With respect to affirmative defenses, “[t]he court may strike from a pleading an

insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.”

Fed. R. Civ. P. 12(f).

        The “fair notice” standard applies to motions to strike affirmative defenses.

Book v. Moulton, No. 3:05-cv-0875, 2005 U.S. Dist. LEXIS 33578, at *2 (N.D.N.Y.

Dec. 6, 2005). Under this standard, defendants must plead facts supporting their

affirmative defenses and cannot rely on a mere reference to a legal doctrine or a bare

recitation of statutory provisions. Employers Ins. Co. of Wausau v. Crouse-Community

Ctr., Inc., 489 F. Supp. 2d 176 (N.D.N.Y. Apr. 25, 2007) (“courts should grant these

motions when the defenses presented are clearly insufficient) This enables courts to

“weed out the boilerplate listing of affirmative defenses.” Barnes v. AT&T Pension

Ben. Plan-Nonbargained Program, 718 F. Supp. 2d 1167, 1172 (N.D. Cal. 2010).




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 Defendant has agreed to withdraw its Fifth Counterclaim for declaratory relief
dismissing Plaintiff’s Claims Under Mass Gen. Laws ch. 93A.
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    NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                          AND DISMISS COUNTERCLAIMS
     Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 9 of 18



          B. Defendant’s First, Second, Third, Fourth, Fifth, Seventh and Eighth

             Affirmative Defenses fail as a matter of law

                 i. Defendant’s First and Second Affirmative Defenses should be

                    stricken because they are unrecognized affirmative defenses

      Almost all of Defendant’s affirmative defenses should be stricken because they

are not affirmative defenses and merely challenge an aspect of Plaintiff’s case-in-chief.

Rule 8(c)(1) provides that a party responding to a pleading must affirmatively state any

avoidance or affirmative defense. An affirmative defense does not merely negate an

element of a plaintiff's prima facie case; rather, it intervenes to defeat the claim even if

plaintiff proves every element of its case. See United States v. Continental Ill. Natl

Bank & Trust Co. of Chicago, 889 F.2d 1248, 1253 (2d Cir. 1989). (striking

defendant’s defense alleging failure to state a claim because it was not an affirmative

defense “but rather a failure of Plaintiff’s prima facie case”); see also Barnes v. AT &

T Pension Ben. Plan–Nonbargained Program, 718 F. Supp. 2d 1167, 1174 (N.D. Cal.

2010) (ruling that failure to state a claim is not an affirmative defense). “A defense

which demonstrates that plaintiff has not met its burden of proof is not an affirmative

defense.” Zivkovic v. So. Cal. Edison Co., 302 F.3d 1080, 1088 (9thCir. 2002) (citing

Flav-O-Rich, Inc. v. Rawson Food Serv., Inc., 846 F.2d 1343, 1349 (11th Cir. 1988)

(recognizing that a defense that points out a defect in the plaintiff’s prima facie case is

not an affirmative defense)).

      Defendant’s First Affirmative Defense alleges “[o]ne or more of Plaintiff’s
                                             7

  NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                        AND DISMISS COUNTERCLAIMS
    Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 10 of 18



claims are barred, in whole or in part, because the Complaint fails to allege facts

sufficient to support a claim upon which relief may be granted.” This is a blanket

challenge to Plaintiff’s prima facie case and Courts have long held that failure to state

a claim is not an affirmative defense. See Barnes v. AT&T Pension Benefit Plan, 718 F.

Supp. 2d 1167, 1171 (N.D. Cal. 2010).

      Defendant’s Second Affirmative Defense plainly challenges the validity or

enforceability of Plaintiff’s Classic Ultra Mini Trade Dress Defendant’s Second

Affirmative Defense alleges “[…] the alleged Classic Ultra Mini Trade Dress is not

valid or enforceable”. This merely challenges Plaintiff’s prima facie case for trade

dress infringement. Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002)

(“A defense which demonstrates that plaintiff has not met its burden of proof as to an

element plaintiff is required to prove is not an affirmative defense.") A defendant's

attempt to negate an element of a claim which a plaintiff must prove is "not an

affirmative defense [which] has to be pled in [an] answer." Zivkovic, 302 F.3d at 1088.

Because Defendant’s Second and First Affirmative Defenses are merely denials to

Plaintiff’s allegations, they should be stricken. See TSX Toys, Inc. v. 665, Inc., 2015

U.S. Dist. LEXIS 192520, 2015 WL 12746211, at *8 (C.D. Cal. Sept. 23, 2015)

(striking general denials pled as affirmative defenses, including defenses challenging

the plaintiff's prima facie; striking non-infringement defense while explaining that

"[d]efenses asserting that [the defendant] did not infringe the marks [...] merely deny

the allegations in [the] complaint").
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 NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                       AND DISMISS COUNTERCLAIMS
    Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 11 of 18



                ii. Defendant’s Third, Fourth, Fifth, Seventh, and Eighth should

                    be stricken because they are immaterial and/or redundant

      Rule 12(f) allows the court to strike any affirmative defenses that are immaterial.

“’Immaterial’ matter is that which has no essential or important relationship to the

claim for relief or the defenses being pleaded.” 5 Charles A. Wright & Arthur R.

Miller, Federal Practice and Procedure § 1382, at 706-07 (1990).

      Defendant’s Third Affirmative Defense alleges that Plaintiff’s Classic Ultra

Mini Trade Dress is functional. The Fourth Affirmative Defense alleges that Plaintiff’s

Classic Ultra Mini Trade Dress is non-distinctive. Defendant’s Fifth Affirmative

Defense alleges there is no likelihood of confusion between Deckers’ UGG® Classic

Ultra Mini. First, these three defenses are not affirmative defenses but rather deny

liability by disputing the plaintiff’s prima facie case. These defenses go to the validity

and enforceability of the trade dress. Functionality goes to whether a subject matter is

protected and thus is a challenge to Plaintiff’s case in-chief. See Moldex-Metric, Inc. v.

McKeon Prods., 891 F.3d 878, 881 (9th Cir. 2018) ("No protection under the Lanham

Act is available if the claimed trade dress is functional.") (citing Traffix Devices v.

Mktg. Displays, 532 U.S. 23, 29 (2001); 15 U.S.C. § 1125(a)(3) ("[T]he person who

asserts trade dress protection has the burden of proving that the matter sought to be

protected is not functional.")).

      Likewise, Defendant’s Seventh Affirmative Defense alleges that Plaintiff has no

suffered any damages; and Defendant’s Eighth Affirmative Defense alleges Defendant
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  NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                        AND DISMISS COUNTERCLAIMS
     Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 12 of 18



did not infringe the ’161 Patent. Again, these are merely challenge to Plaintiff’s prima

facie case. Thus, each of these would-be defenses add nothing to the case while

inviting unnecessary confusion and should be stricken.

            C. All of Defendant’s Affirmative Defenses fail the fair notice standard

      All of Defendant’s Affirmative Defenses fail the “fair notice” pleading standard

and should be stricken. An affirmative defense must, at a minimum, provide the

plaintiff with “fair notice” of that defense. An affirmative defense is not preserved by a

general pleading of "failure to state a claim upon which relief may be granted" or by

Rule 12(h)(2), which provides that such a defense may be asserted "at trial." "A

general assertion that the plaintiff's complaint fails to state a claim is insufficient to

protect the plaintiff from being ambushed with an affirmative defense." Saks v.

Franklin Covey Co., 316 F.3d 337, 350 (2d Cir. 2003); see also 5C WRIGHT

&MILLER, FED. PRAC. &PROC. § 1392 (3d ed. 2012) (under Rule 12(h)(2)

"defenses cannot be interposed simply as a mechanism for relieving the movant from

the consequences of a default."). Tronox Inc. v. Kerr McGee Corp. (In re Tronox Inc.),

503 B.R. 239, 339 (Bankr. S.D.N.Y. 2013). Defendants’ affirmative defenses fail this

standard.

      Most blatantly is Defendant’s First Affirmative Defense which states only that

“the Complaint fails to allege facts sufficient to support a claim upon which relief may

be granted,” Defendant’s other affirmative defense are also deficient and fail to meet

the necessary standard.
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  NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                        AND DISMISS COUNTERCLAIMS
    Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 13 of 18



      Defendant’s equitable defenses of waiver, laches, acquiescence, or estoppel

(Sixth Affirmative Defense) and unclean hands (Tenth Affirmative Defense), also fail

to provide any supporting facts. Because Defendant fails to provide enough factual

content to identify the factual grounds on which an affirmative defense rests, these

defenses should be stricken as well. For example, a defense of laches requires the

identification of the relevant statute of limitations and an explanation of what conduct

caused such limitations periods to trigger and any facts that might effectively put

Plaintiff on notice of the factual basis for this defense. To properly allege that

Plaintiff’s claims are barred by laches, Defendant must at least allege when Plaintiff

discovered Defendants’ infringement and that it is outside the time prescribed by the

applicable statute. The same issues are true for the other defenses of acquiescence,

waiver, estoppel and unclean hands.

      Moreover, district courts have held that an unclean hands affirmative defense

must also be pled with particularity under Fed. R. Civ. P. 9(b). See, e.g., ADP

Commercial Leasing, Inc. v. M.G. Santos, Inc., No. CV F 13-0587 LJO, 2013 WL

5424955, at *12 (E.D. Cal. Sept. 27, 2013); U.S. S.E.C. v. Nothern, 400 F. Supp. 2d

362, 364 (D. Mass. 2005) (granting motion to strike equitable estoppel defense and

noting that equitable estoppel involves misrepresentation). The ADP court held that

“[i]n all averments of fraud, including affirmative defenses, the circumstances

constituting the fraud must be stated with particularity.” ADP, 2013 WL 5424955, at

*12. Other courts have followed the same reasoning and dismissed unclean hands
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  NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                        AND DISMISS COUNTERCLAIMS
    Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 14 of 18



affirmative defenses that were unsupported by factual allegations. See Hewitt v. Bank

of Am. NA, No. 1:13-CV-310, 2013 WL 3490668, at *8 (W.D. Mich. July 11, 2013)

(finding unclean hands allegations did not comply with Rule 9(b)’s heightened

pleading requirement); Network Caching Tech., LLC v. Novell, Inc., No. C-01-2079-

VRW, 2001 WL 36043487, at *4 (N.D. Cal. Dec. 31, 2001) (same, with respect to

patent claims). Defendants have offered no factual support for their unclean hands

affirmative defense or, for that matter, any other equitable doctrine. Thus, these

defenses should be stricken.

      Defendant’s Ninth Affirmative Defense (Plaintiff Lacks a Valid Design Patent)

does not provide Plaintiff with fair notice because there are notably no facts pleaded

supporting this defense. Thus, it does not come close to alleging sufficient facts to

make the defense plausible on its face. See Advanced Cardiovascular Sys. v.

Medtronic, Inc., 1996 U.S. Dist. LEXIS 11700 **9-10 (N.D. Cal. July 24, 2006)

(Striking defendant’s affirmative defense that the patent “’is invalid, void, and

unenforceable for failure to satisfy the requirements of patentability […]’” on the

grounds that it was not pled with the minimal specificity necessary to give the plaintiff

fair notice of the defense). Further, there are a number of reasons for which a patent

may be invalid. Here, Plaintiff cannot prepare a response to general conclusions of

invalidity and non-infringement. See Advanced Cardiovascular Sys. v. Medtronic, Inc.,

1996 U.S. Dist. LEXIS 11700 **9-10 (N.D. Cal. July 24, 2006) (Striking defendant’s

affirmative defense that the patent “’is invalid, void, and unenforceable for failure to
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 NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                       AND DISMISS COUNTERCLAIMS
     Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 15 of 18



satisfy the requirements of patentability […]’” on the grounds that it was not pled with

the minimal specificity necessary to give the plaintiff fair notice of the defense). Thus,

the Court should strike the Ninth Affirmative Defense.

   IV.    DEFENDANT’S COUNTERCLAIMS ONE THROUGH FOUR

          SHOULD BE DISMISSED, OR IN THE ALTERNATIVE STRICKEN

       To survive a motion to dismiss, counterclaims must "'plausibly give rise to an

entitlement to relief'" after the Court "assume[s] all 'well-pleaded factual allegations' to

be true." Selevan v. New York Thruway Auth., 584 F.3d 82, 88 (2d Cir. 2009) (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 679, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009)). "A

counterclaim should be dismissed only if it does not include allegations of fact

sufficient to state a claim for relief that is 'plausible on its face.'" Levitt v. Bear, Stearns

& Co. Inc., No. 99-CV-2789 (ADS) (MLO), 2009 WL 10710738, at *2 (E.D.N.Y. Feb.

2, 2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167

L. Ed. 2d 929 (2007)). Although counterclaims do not require detailed factual

allegations to survive, there must be more than labels and conclusions to substantiate

the litigants' entitlement to relief. Twombly, 550 U.S. 544, 545, 127 S. Ct. 1955, 167 L.

Ed. 2d 929 (2007).

       Here, Defendant’s Counterclaims one through four should be dismissed. They

do nothing more than mirror Plaintiff’s claims and are duplicative, redundant, and

would serve no purpose. “A district court should entertain a counterclaim for

declaratory judgment if the ‘judgment will serve a useful purpose in clarifying or
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  NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                        AND DISMISS COUNTERCLAIMS
    Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 16 of 18



settling the legal issues involved.” Smith v. BarnesandNoble.com, LLC, 2014 U.S.

Dist. LEXIS 35623 at *3 (S.D.N.Y. March 18, 2014); See also Maverick Recording

Co., Nos. 07-CV-200, 07-CV-640, 2008 U.S. Dist. LEXIS 63783, 2008 WL 3884350,

at *1 (E.D.N.Y. 2008) (the court found that a defendant's counterclaim was the mirror

image when "[t]he central issue in these cases is whether defendants committed

copyright infringement, and the defendants' counterclaim [sought] a declaratory

judgment that they did not[.]").

        Counterclaims one through four seek declaratory judgment regarding the very

same controversy raised in Plaintiff’s Complaint. Specifically, Defendant’s first

counterclaim for Declaratory Judgment for No Trade Dress Infringement is the inverse

of Plaintiff’s first claim for relief, “Trademark Infringement”. Likewise, Defendant’s

counterclaims two, three, and four tack this pattern of inversion. As such, Defendant’s

counterclaims one through four should be dismissed.

   V.      CONCLUSION

        For the foregoing reasons, Deckers respectfully requests the Court strike

Defendant’s first through tenth Affirmative Defenses and dismiss Defendant’s first

through fourth Counterclaims.




                                            14

 NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                       AND DISMISS COUNTERCLAIMS
  Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 17 of 18



Dated:     April 28, 2023      By:   /s/ Jamie Fountain
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                                     15

NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                      AND DISMISS COUNTERCLAIMS
    Case 1:23-cv-10233-ADB Document 26 Filed 04/28/23 Page 18 of 18



          CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1
      I hereby certify that on April 25, 2023, I sent Defendant’s counsel a detailed
correspondence requesting to meet and confer pursuant to Local Rule 7.1 regarding
Plaintiff’s anticipated motion to strike affirmative defenses and dismiss counterclaims.
On April 28, 2023, I met and conferred with Defendant’s counsel regarding Plaintiff’s
anticipated motion. While the parties were unable to come to an agreement regarding
Plaintiff’s motion to strike Affirmative Defenses One through Ten and Counterclaims
One through Four, Defendant agreed to withdraw its Counterclaim Five.


 Dated:       April 28, 2023         By:    /s/ Jamie Fountain
                                            _______________________________
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                                           16

 NOTICE OF MOTION AND MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
                       AND DISMISS COUNTERCLAIMS
